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                                            NAILAH K. BYRD
                                    CUYAHOGA COUNTY CLERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113



                                              Court of Common Pleas


                                            New Case Electronically Filed:
                                              December 1, 2017 16:22

                                           By: PAUL J. CRISTALLO 0061820
                                               Confirmation Nbr. 1239891


   ERIMIUS SPENCER                                                         cv 17 889899
           vs.
                                                                 Judge: NANCY MARGARET RUSSO
   CITY OF EUCLID, ET AL




                                                    Pages Filed: 17




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                                                                                                    EXHIBIT
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                                      IN THE COURT OF COMMON PLEAS
                                          CUYAHOGA COUNTY, OHIO




         ERIMIUS SPENCER                                   )
         C/0 CRISTALLO & LaSALVIA                          )
         614 W. SUPERIOR AVENUE                            )        CASE NO.
         SUITE 801                                         )
         CLEVELAND, OHIO 44113                             )
                                                           )
                          Plaintiff                        )
                                                           )
                 -vs-                                      )
                                                           )
         THE CITY OF EUCLID                                )
         585 E. 222"ct STREET                              )
         EUCLID, OHIO 44123                                )
                                                           )        JUDGE
                 -and-                                     )
                                                           )
         EUCLID POLICE OFFICER                             )
         MICHAEL AMIOTT, #82                               )
         C/0 THE CITY OF EUCLID                            )
         585 E. 222nd STREET                               )
         EUCLID, OHIO 44123                                )
         (This individual is sued in his official and      )                    COMPLAINT
         individual capacity)                              )
                                                           )        (JURY DEMAND ENDORSED
                 -and-                                     )        HEREON)
                                                           )
         EUCLID POLICE OFFICER                             )
         SHANE RIVERA, #63                                 )
         C/0 THE CITY OF EUCLID                            )
         585 E. 222m1 STREET                               )
         EUCLID, OHIO 44123                                )




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         (This individual is sued in his official and         )
         individual capacity)                                 )
                                                              )
         -and-                                                )
                                         )
         RHM REAL ESTATE GROUP           )
         RHM REAL ESTATE INC.,           )
         C/0 JOHN JOYCE , JR.            )
         RHM REAL ESTATE INC.,           )
         26949 CHAGRIN BLVD., SUITE #208 )
         BEACHWOOD, OHIO 44 I I 2        )
                                         )
         -and-                           )
                                         )
         JOHN DOE SECURITY CORPORATION )
         NAME AND ADDRESS UNKNOWN        )
         C/0 JOHN JOYCE , JR.            )
         RHM REAL ESTATE INC.,           )
         26949 CHAGRIN BLVD., SUITE #208 )
         BEACHWOOD, OHIO 44112           )
                                                           )
                          Defendants                       )


                                                INTRODUCTION


                 1.       Plaintiff Erimius Spencer brings this civil rights lawsuit to address the

         violations of his Constitutional rights, his rights under Ohio law, and his resulting

         damages and injuries. On December 5, 20 I 6, Spencer was stopped in the hallway of his

         apartment by Euclid Police Officers Amiott and Rivera. TI1ere was no legal justification

         for the stop and subsequent interrogation. Spencer complied with all of the Officers'

         orders and was respectful in his answers to their questions. Nevertheless, Officer Amiott

         reached into one of Spencer's pockets and pulled out what Amiott believed to be a small

         amount (est. I gram or less) of marijuana. Amiott immediately and forcefully grabbed

         Spencer's arm and twisted it. Rivera also approached Spencer and grabbed him. Spencer

         was compliant but was not told what was going on or why.                  Rather, Amiott angrily



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         shouted at Spencer to stop resisting or words to that effect. Spencer, however, wa"n't

         resisting. Amiott then kneed Spencer in the groin and pushed Spencer to the ground.

         Rivera jumped on top of Spencer and restrained him so that Spencer could not move his

         anns. Spencer began shouting "What are you doing?!", and ''I'm not resisting!" or words

         to that effect. Spencer then shouted for help, and that is when Amiott kicked Spencer in

         the face. Amiott kicked Spencer in the face with such force that he fractured Spencer's

         left orbital bone. Spencer began bleeding profusely from his facial injury and continued

         to cry for help. Officer Rivera and Amiott both deployed their tasers - ultimately tasing

         Spencer at least ten (10) times. Spencer was tased on both of his anns, his hamstring

         area, and even his neck.

                 2.       Spencer was eventually taken to Euclid Hospital. TI1e medical staff at

         Euclid Hospital recommended Spencer be transferred to MetroHealth Hospital because

         MetroHealth has a trauma unit and Spencer's injuries were sufficiently severe.

                 3.       Later, Amiott and Rivera attempted to justify their use of force by alleging

         Spencer was 'violently uncontrollable' . Spencer, 5 '6" and 155 lbs. has no criminal

         felony record nor does he have any history ofviolence. Amiott, 6'1" and 218 lbs., has a

         history of misconduct, dishonesty and using excessive force.

                                            JURISDICTION AND VENUE

                 4.       This action is brought pursuant to claims arising under the laws of the

         State of Ohio, 42 U.S.C. § 1983, and the Fourth and Fourteenth Amendments to the

         United States Constitution. TI1is action is also brought pursuant to 28 U.S.C. §§ 1983,

         1985 and 198 8 as it is also an action for compensatory damages, punitive damages, and

         attorney fees.




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                                                        PARTIES

                 5.      PlaintiffErimius Spencer is a resident of Cuyahoga County, Ohio.

                 6.      Defendants Amiott and Rivera were, at all times relevant hereto, and in

         their actions described herein, appointed police officers employed by the City of Euclid.

                 7.      At all times relevant hereto and in all their actions described herein,

         Defendants Amiott and Rivera were acting under color of law and pursuant to their

         authority. They arc sued in their official and individual capacities.

                 8.      Defendants Amiott and Rivera acted within the scope of their employment

         and in the perfonnance of their official duties.

                 9.      To the extent Defendants Amiott and Rivera were providing security

         services or other performing other duties for and/or through a private entity and/or

         entities, they were acting in their capacities as law enforcement agents as set forth above

         in paragraphs 9 - II .

                 l 0.    Defendant City of Euclid is a municipal corporation, duly incorporated

         under the laws of the State of Ohio, is a "person" for purposes of 42 USC §1983, and is

         responsible for the customs, practices and policies of its Police Department.

                 11.     Defendants RHM Real Estate Group and RIIM Real Estate Inc., are

        lawfully incorporated corporations, duly registered with the Ohio Secretary of State and

        having principal places of business in the State of Ohio with agents located in Cuyahoga

        County, Ohio. These Defendants are domestic, for-profit corporation organized under the

        laws of the State of Ohio . Some of the individual Defendants were also acting pursuant

        to the express and/or implied direction, policies, and approval of Defendants RHM Real

        Estate Group and/or RUM Real Estate Inc.




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                 12.     To the extent RHM Real Estate Group and RHM Real Estate Inc., retained

         and/or employed Defendants Amiott and/or Rivera during the events as set forth in

         Plaintiffs Complaint, they bear some responsibility for Amiott and Rivera's actions

         based on the legal relationship between these Defendants.

                 13.     John Doe Security Corporation, name and address currently unknown

         despite efforts to determine same, bears some responsibility for Amiott and Rivera's

         actions based on the legal relationship between these Defendants. Some of the individual

         Defendants were also acting pursuant to the express and/or implied direction, policies,

         and approval of John Doe Security Corporation.

                                                        FACTS

                 14.     Erimius Spencer was an established resident and lawful tenant of

        Richmond Hills Apartments in Euclid Ohio. On December 5, 2016, shortly after 7:00

         p.m., Spencer walked from his apartment on the 51h floor to the 41h floor. Spencer was

        merely going to get a cigarette from an acquaintance/neighbor he knew in the building.

        While standing outside his friend's apartment, Officers Michael Amiott and Shane Rivera

        entered the 4th floor hallway approximately 75 feet away. Upon seeing Spencer from a

        distance, they shouted for him to stop. Spencer, unarmed and not engaged in criminal

        activity, didn't flee. Rather, he waited for the police at the end ofhallway.

                15.     The Officers, with no lawful basis to interrogate Spencer, began asking

        him questions and Spencer provided truthful answers.            Spencer voluntarily gave his

        name, provided identification, explained that he lived on the 51h floor, and fi.trther

        explained why he was on the 4 1h floor.




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                   16.    The Officers continued to question Spencer, asking him about whether or

         not he was anned and if he had any outstanding wan·ants, etc. Again, Spencer was calm,

         non-combative and respectful. He answered all of the Officers' questions truthfully,

         including the fact that he was unarmed.

                   17.    Officer Amiott then reached into one of Spencer' front pockets and pulled

         out what he believed was a small amount (less than 1 gram) of marijuana. Officer Amiott

         immediately grabbed Spencer' arm and began twisting it. Officer Amiott's response was

         sudden and unnecessarily aggressive. Spencer was pushed against the hallway wall and

         grabbed by both Officers Amiott and Rivera. Spencer tried to be calm and asked the

         Officers why they were doing this, but he was ignored.              Rather, Officer Amiott was

         shouting at Spencer to 'Stop Resisting!' despite the fact that Spencer was being

         compliant. Amiott then kneed Spencer in the groin and forcefully pushed Spencer to the

         ground.

                 18.     Officer Rivera was immediately on top of Spencer. Spencer had his hands

         and anns restrained while he was on the floor of the hallway. He shouted that he wasn't

         resisting and pleaded for the Officers to stop. Spencer was shouting for the Officers to

         stop and then shouted for help. At this juncture, Officer Amiott then violently kicked

         Spencer in the eye with such force that he broke Spencer's his left orbital bone. The skin

         on Spencer' face immediately broke open and he began to bleed profusely.

                 19.     Spencer was also turned on his side and repeatedly tased. The Officers

         tased Spencer with such malicious abandon that Spencer had taser burns on the left and

         right side of his neck, his left and right bicep, as well as his left hamstring area. Spencer




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         was tased approximately ten (I 0) times. Spencer was either restrained and/or handcuffed

         during tins brutal assault by the two Officers.

                 20.      Spencer was eventually pulled to his feet and taken to Euclid Hospital on

         Lakeshore Blvd. When he arrived at Euclid Hospital, the Officers insisted that he be

         handcuffed to a bed.

                 21 .     The medical staff at Euclid Hospital diagnosed Spencer with vanous

         injuries, including but not limited to a bruising, abrasions, taser injuries, and a fracture of

         his left orbital bone. (See, Figure 1)




         Figure l

                 22.     Spencer remained handcuffed to the side of the hospital bed for two hours.

                 23.     At 9:47 p.m., Officers Amiott and/or Rivera decided that Spencer was no

         longer under arrest.     They removed the handcuffs, left three tickets on his bed, and

         walked out.


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                 24.      Spencer was then advised by the medical staff at Euclid Hospital that he

         should be transferred to MctroHcalth Hospital because they have a trauma center and

         Euclid Hospital does not.        That is to say, the medical personnel at Euclid believed

         Spencer' injuries were severe enough that an EMS squad was ordered and transported

         him to MetroHealth Emergency Department so that the full extent of his injuries could be

         evaluated by medical professionals specifically trained in traumatic injuries.

                 25.     While at MctroHcalth hospital , Spencer was evaluated and further treated

         for his traumatic injuries.     A CT scan of his head was performed so as to rule out

         intracranial bleeding and/or swelling of the brain.            His physical injuries remained

         prominent. (See, Figures 2 and 3)

                                                              I
                                                                  I)




                 Figure 2




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                 Figure 3

                 26.      At the time of this incident, Officer Amiott asserted he was 6' l " and

         weighed 218 lbs. Euclid Hospital confirmed Spencer Spencer's height at 5'6" and his

         weight at 155lbs.

                 27.      The three tickets Officer Amiott ]eft with Spencer cited him for four

         crimes: Theft, Resisting Arrest, Criminal Damaging and Dmg Abuse.

                 28.     None of the tickets issued by Officer Amiott included any factual support

         or details relative to what Spencer had actually done to warrant being charged with each

         crime. Rather, Officer Amiott merely included an allegation of a crime (e.g., "Criminal

         Damage") and a definition of the crime ("No person shall cause physical harm to

         prope1ty without the other person's consent").

                 29.     Officer Amiott later explained that the "Criminal Damage" occurred when

         a plastic pa1t of his taser broke, and also because his sunglasses were "destroyed".


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         Officer Amiott cited Spencer for "Theft" because, according to Officer Amiott, Spencer

         temporarily grabbed his taser. Spencer did not break Officer Amiott's glasses, he did not

         break Officer Amiott's taser, and he never grabbed for Officer Amiott's taser, let alone

         took possession of it.

                 30.     Spencer' possession of what was allegedly less than(!) gram of marijuana

         was the justification for charging him with "Drug Abuse". It is noteworthy that Ohio law

         considers the possession of less than one hundred (I 00) grams of marijuana a minor

         misdemeanor, not punishable by jail or even arrest, with a maximum fine of $150.00.

                 31.     Thereafter, the City of Euclid prosecuted Spencer for the charges Officer

         Amiott brought against him, beginning with an arraignment scheduled for December 15,

         2016.

                 32.     On August 12, 2017, Euclid Officer Michael Amiott arrested Richard

         Hubbard ITI. The an·est was captured on a cell phone video and garnered international

         attention for the brutal and violent manner in which Officer Amiott abused Mr. Hubbard.

        Officer Amiott was suspended from employment with the City of Euclid following this

        incident.

                 33.     Shortly thereafter the City of Euclid hired outside counsel to prosecute

        Spencer. A discovery request was made for the evidence supporting Officer Amiott's

        allegations, including but not limited to the broken taser, the broken glasses and the

        marijuanna, but this evidence was never produced. The prosecution against Spencer

        continued until September 7, 2017 when the theft, resisting arrest and criminal damage

        charges were all dismissed by the prosecution with prejudice.




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                 34.      Officer Amiott's unfounded tickets and false allegations against Spencer is

         not the first time he has engaged in such misconduct.

                 35.      On April 3, 2014, Officer Amiott was forced to resign from the City of

         Mentor Police Department after an internal investigation detennined that Officer Amiott

         "made a false statement in his police report". In that instance, the City of Mentor

         concluded that Officer Amiott had violated various sections of the Mentor Police

         Department's Code of Conduct including but not limited to "Tmthfulness", "Repmting",

         and "Arrest, Search & Seizure".

                 36.      Upon information and belief, neither Officer Amiott nor Officer Rivera

         were disciplined for their misconduct relative to Spencer's arrest or injuries. Further,

         upon information and helief, this unconstitutional use of excessive force was not

         adequately investigated by the City of Euclid or any other Defendant.

                 37.      Spencer sustained severe and pennanent injuries as a result of the actions

         of Officers Amiott and Rivera.         Spencer has endured pain, suffering, and emotional

         distress stemming from this incident.

                 38.      The Defendants' conduct as set forth herein constitutes willful, wanton,

         reckless, malicious and/or negligent behavior, all of which directly and proximately

         caused Spencer's injuries.

                 39.      Spencer continues to suffer injuries and incurs damages as a result of the

         actions and inactions of the Defendants, individually and collectively.



                                        FIRST CAUSE OF ACTION
                                     Excessive Force/Failure to Intervene




                                                          11

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                 40.      The foregoing paragraphs arc incorporated by reference herein as if fully

         rewritten.

                 41.     The actions of Defendants Officers Amiott and Rivera constituted an

         unjustifiable and excessive use of force without legal justification. Their actions were

         deliberately indifferent, reckless, wanton and shocking to the conscience, all of which

         deprived Plaintiff Spencer of his civil rights, as secured by the Fourth and Fourteenth

         Amendments to the United States Constih1tion and through 42 U.S . C. § 1983.

                 42.     The actions of the Defendant Officers Amiott and Rivera were committed

         maliciously and/or in an unreasonable, wanton and/or reckless manner.

                 43.     Defendants Amiott and Rivera had the opportunity, as well as a legal duty,

         to intervene and to protect Spencer from having his rights violated. Defendants failed in

         this respect and are also therefore liable.

                 44.     The Defendant's actions were performed under color of law and deprived

         Spencer of federally protected rights, in violation of 42 U.S.C. § 1983.

                 45.      As a direct and proximate result of the wrongful conduct of Defendants,

         Plaintiff Spencer Spencer suffered physical injuries and emotional distress.



                                       SECOND CAUSE OF ACTION
                                              Assault a.nd Battery

                 46.     The foregoing paragraphs are incmJlorated by reference herein as if fully

        rewritten.

                 47.      The acts and omissions of Defendants Amiott and Rivera constitute

        assault and battery, as well as willful, wanton, intentional, and reckless conduct under the

        law ofthe State of Ohio .



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                 4R.      As a direct and proximate result of the Defendants' assault and battery,

         Spencer sustained physical injuries, emotional distress and other losses.

                                        THIRD CAUSE OF ACTION
                                  Intentional Infliction of Emotional Distress

                 49.      The foregoing paragraphs are incorporated by reference herein as if fully

         rewritten.

                 50.      Through their unreasonable and unlawful conduct, the Defendants Amiott

         and Rivera either intended to cause Spencer emotional distress or knew or should have

         known that their actions or inactions would result in serious emotional distress. Further,

         their actions toward Spencer were so extreme and outrageous as to go beyond all possible

         bounds of decency and were intolerable.

                 51.     The Defendants' actions have directly and proximately caused Spencer

         psychic injury from which he suffers and will continue to suffer into the future.



                                       FOURTH CAUSE OF ACTfON
                                 Negligent Hiring, Training, and Supcnision


                 52.     The foregoing paragraphs arc incorporated by reference herein as if fully

         rewritten.

                 53.     Defendants City of Euclid, RHM Real Estate Group, RHM Real Estate

         Inc., and/or John Doe Security Corporation negligently failed to screen and negligently

        hired their employees and/or agents. This failure and negligence led to the hiring of

         individuals who should not have been charged with arresting Spencer. Spencer sustained

        injuries and damages as a direct and proximate result of this negligence and failure.




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                 54.     These Defendants negligently failed to train their employees and/or

         agents. This failure and negligence led to inadequately trained individuals being charged

         with arresting, restraining and handling Spencer or otherwise involved in his detention.

         Spencer sustained injuries and damages as a direct and proximate result of this

         negligence and failure.

                                        FIFTH CAUSE OF ACTION
                                             42 u.s.c. § 1983

                 55 .    The foregoing paragraphs are incorporated by reference herein as if fully

         rewritten.


                 56.     The Defendants have, under color of state law, deprived Spencer of rights,

         privileges and immunities secured by the Fourth and Fourteenth Amendments to the U.S.

         Constitution.


                 57.     The City of Euclid and its officials, policymakers, employees and/or

         officers failed to adequately train and supervise their police officers relative to the use of

         force, arrest procedures, restraint, and intervening when rights are being violated.


                 58.     The rules, regulations, customs, policies and procedures of the City of

         Euclid were inadequate and unreasonable and were the moving force behind the

         Constitutional deprivations suffered by Spencer.


                 59.     Although the policymakers were on notice ofthe obvious need to train and

        supervise the police in the area of policies and procedures relating to arrest procedures,

        the use of force, and intervention on behalf of arrestees, these City of Euclid failed to

        adequately train and supervise the individual police officers in that regard.




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                   60.    The City of Euclid, its officers, officials, and employees also failed to

         adequately investigate the incident at issue in Plaintiffs Complaint. There was no legal

         justification for the degree of physical force employed by Defendants Ami ott and Rivera

         against Mr. Spencer. Despite the fact that this objectively inappropriate use of force took

         place and resulted in serious physical injury, no adequate investigation was conducted.

         Based on these Defendants adopting and implicitly condoning the use of excessive force,

         they are liable for directly and proximately causing the deprivation of Mr. Spencer's

         rights.


                   61.   As a direct and proximate result of these failures by Defendant the City of

         Euclid, Plaintiff Spencer sustained injury, a loss of his rights, economic and non-

         economic damages.


                                       SIXTH CAUSE OF ACTION
                                  Ncgligencc/Willful, Wanton and Reckless


                   62.   The foregoing paragraphs are incorporated by reference herein as if fully

         rewritten.

                   63.   Defendant Officers Amiott and Rivera acted with a malicious purpose, in

         bad faith and/or in a willful, wanton, and/or reckless manner such that Spencer sustained

         injury, damages and economic and non-economic losses. Officers Amiott and Rivera's

         conduct, and their failure to exercise due care, precludes them from the defense of

         immunity, set forth in Ohio Revised Code §2744.01 et seq., based on the fact that they

         acted in a malicious, willful, wanton, and/or reckless manner.




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                                                       DAMAGES


                  64. The foregoing paragraphs are incorporated by reference herein as if fully

                       rewritten.

                 65. As a direct and proximate result of the Defendants' conduct, Spencer suffered

         a loss and violation of his Constitutional rights, a loss and violation of his state of Ohio

         rights, physical injury, pain, mental anguish and emotional distress, as well as economic

         and non-economic losses, some or all of which may be pennanent.

                                             PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff prays for judgment against the Defendants, jointly and

         severally, for:

                 (A)       Compensatory and consequential damages for all the injuries identified in

         the amount in excess of Twenty Five Thousand Dollars ($25,000.00);

                 (B)       Punitive damages against individual Defendants in an amount to be

         detem1ined at trial for the willful and malicious conduct of these Defendants;

                 (C)       Attorneys' fees and the costs of this action and other costs that may be

         associated with this action; and

                 (D)       Any and all other relief this Court deems equitable, necessary, and just.

                                                            /s/ Paul J. Crista!lo
                                                           PAULJ. CRISTALLO (0061820)
                                                           Cristallo & LaSalvia, LLC.
                                                           The Rockefeller Building
                                                           614 West Superior Avenue, Suite 820
                                                           Cleveland, OH 44113
                                                           Telephone:     (216) 400-6290
                                                           Facsimile:     (216) 727-0160
                                                           E-Mail :       paul@makeitrightohio.com

                                                           COUNSEL FOR PLAINTIFF SPENCER
                                                           SPENCER


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                                                 JURY DEMAND

                 Plaintiff hereby demands a trial by jury on all issues so triable.




                                                            Paul J. Cristallo
                                                           PAUL J. CRISTALLO (0061820)




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December 6,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   768751444420.

Delivery lnfonnation:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                M.MODIC                         Delivery location:       585 E 222ND ST
                                                                                       EUCLID. OH 44123
Service type:                 FedEx Express Saver             Delivery date:           Dec 5, 2017 14:27
Special Handling:             Deliver Weekday

                              Direct Signature Required




 Shipping Information:
Tracking number:              788751444420                    Ship date:               Dec 4, 2017
                                                              Weight:                  0.5 lbs/0.2 kg



Recipient                                                     Shipper:
CITY OF EUCLID                                                eeoc
585 E. 222ND STREET                                           1200 Ontario
EUCLID, OH 44123 US                                           Cleveland, OH 44113 US

Reference                                                     CV17889899
Invoice number                                                33951159



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December 6 ,2017

Dear Customer:

The following Is the proof-of-delivery for tracking number 788751444740.


Delivery lnfonnation:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              M.MODIC                      Delivery location:       585 E 222ND ST
                                                                                  EUCLID, OH 44123
Service type:               FedEx Express Saver          Delivery date:           Dec 5, 2017 14:27
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping lnfonnation:
Traoklng number:            788751444740                 Ship date:               Dec4, 2017
                                                         Weight:                  0.5 lbs/0.2 kg



Recipient                                                Shipper:
EUCLID POLICE OFFICER, MICHAEL AMIO                      eeoc
C/0 CllY OF EUCLID                                       1200 Ontario
585 E. 222ND STREET                                      Cleveland, OH 44113 US
EUCLID, OH 44123 US
Reference                                                CV17889899
Invoice number                                           33951160



Thank you for choosing FedEx.




  CV17889899/33951160 I EUCLID POLICE OFFICER. MICHAEL AMIOTT, #82/2017-12-6 05 :39
      Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 21 of 35. PageID #: 30




December 6,2017

Dear Customer:

The following Is the proof-of-delivery for tracking number 788751445644.


Delivery lnfonnation:
Status:                     Delivered                    Delivered to:             Receptionist/Front Desk
Signed for by:              M.MODIC                      Delivery location:        585 E 222ND ST
                                                                                   EUCLID, OH 44123
Service type:               FedEx Express Saver          Delivery date:            Dec 5, 2017 14:27
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping lnfonnation:
Tracking number:            788751445644                 Ship date:                Dec4, 2017
                                                         Weight:                   0.5 lbs/0.2 kg



Recipient                                                Shipper:
EUCLID POLICE OFFICER, SHANE RIVERA                      eeoc
CJO CITY OF EUCLID                                       1200 Ontario
585 E. 222ND STREET                                      Cleveland, OH 44113 US
EUCLID, OH 44123 US
Reference                                                CV17889899
Invoice number                                           33951161


Thank you for choosing FedEx.




  CV17889899 J 33951161 J EUCLID POLICE OFFICER, SHANE RIVERA, #63 J 2017-12-6 05:38
      Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 22 of 35. PageID #: 31




December 6,2017

Dear Customer:

The following Is the proof-of-delivery for tracking number 788751446066.


Delivery lnfonnation:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              M.GALLAGHER                  Delivery location:       26949 CHAGRIN BLVD 208
                                                                                  BEACHWOOD, OH 44112
Service type:               FedEx Express Saver          Delivery date:           Dec 5, 2017 10:14
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping lnfonnation:
Tracking number:            788751446066                 Ship date:               Dec4, 2017
                                                         Weight:                  0.5 lbs/0.2 l<g



Recipient                                                Shipper:
RHM REAL ESTATE GROUP RHM REAL ESTA                      eeoc
C/O JOHN JOYCE, JR.?RHM REAL ESTATE                      1200 Ontario
26949 CHAGRIN BLVD.,                                     Cleveland, OH 44113 US
SUITE 208
BEACHWOOD, OH 44112 US
Reference                                                CV17889899
Invoice number                                           33951162


Thank you for choosing FedEx.




  CV17889899/33~l51162/   RHM REAL ESTATE GROUP RHM REAL ESTATE INC. /2017-12-6 05:39
      Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 23 of 35. PageID #: 32




December 6,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788751446662.


Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              M.GALLAGHER                  Delivery location:       26949 CHAGRIN BLVD 208
                                                                                  BEACHWOOD, OH44112
Service type:               FedEx Express Saver          Delivery date:           Dec 5, 2017 10:14
Special Handling:           Deliver Weekday

                            Direct Signature Required




 Shipping lnfonnation:
Tracking number:            788751446662                 Ship date:               Dec4, 2017
                                                         Weight:                  0.5 lbs/0.2 kg



Recipient                                                Shipper:
JOHN DOE SECURITY CORPORATION                            eeoc
NAME AND ADDRESS UNKNOWN?C/0 JOHN J                      1200 On1ario
26949 CHAGRIN BLVD., SUITE #208                          Cleveland, OH 44113 US
BEACHWOOD, OH 44112 US
Reference                                                CV17889899
Invoice number                                           33951163


Thank you for choosing FedEx.




  CV17889899/33951163/ JOHN DOE SECURITY CORPORATION /2017-12-6 05:39
SUMMONS IN A CIVIL ACTION                          COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                      Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 24 of
                                                                  CLEVELAND,   35.44113
                                                                             OHIO    PageID #: 33
                CASE NO.                                    SUMMONS NO.
               CV17889899                  D1 FX              33951159                                          Rule 4 (B) Ohio

                                                                                                               Rules of Civil
                                                                                                               Procedure
                               ERIMIUS SPENCER                     PLAINTIFF
                                      vs                                                                      SUMMONS
                         CITY OF EUCLID, ET AL                     DEFENDANT



          CITY OF EUCLID                                                              You have been named defendant in a sums
          585 E. 222ND STREET                                                       complaint (copy attached het-eto) filed in Cuyahoga
          EUCLID OH 44123                                                           County Court of Common Pleas, Cuyahoga County
                                                                                    Justice Center, Cleveland, Ohio 44113, by the
                                                                                    plaintiff named herein.

                                                                                      You are hereby summoned and required to answer
                                                                                    the complaint within :Z8 days after service of this




                                    •
                      Said answer is required to be served on:                      summons upon you, exclusive ofthe day of senice.

                                                                                     Said answer is required to be served on Plaintiffs
          PlanUil'• Attorney                                                        Attorney (Address denoted by arrow at lert.)

          PAUL J CRISTALLO                                                           Yout· answer must also be filed with the court
          THE ROCKEFELLER BUILDING                                                  within 3 days after sen1ce of said answet· on
                                                                                    plaintiff's attomey.
          614 WEST SUPERIOR AVENUE SUITE 820
          CLEVELAND, OH 44103-0000                                                    If you fail to do so, judgment by default will be
                                                                                    rendered against you for the relief demanded in the
                                                                                    complaint.

                   Case has been assigned to Judge:
                  -
             NCY MARGARET RUS SO
             not contact judge. Judge's name is given for
              mey's t-eference only.

                                                                             NAILAH K. BYRD
                                                                          aerk of the Court of Common Pleos


                      DATE SENT
           Dec     4,    2017                         ~-----------~~----------------
                                                                  Deputy


             COMPLAINT FILED            12/01/2017


                                                                                   11111111111111111111111111111111111111111111111111




CMSN130
SUMMONS IN A CIVIL ACTION                         COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                     Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 25 of
                                                                 CLEVELAND,   35.44113
                                                                            OHIO    PageID #: 34
                CASE NO.                                    SUMMONS NO.
               CV17889899                 D2 FX               33951160                                            Rule 4 (B) Ohio

                                                                                                                Rules of Civil
                                                                                                                Procedure
                                ERIMIUS SPENCER                    PLAINTIFF
                                     vs                                                                       SUMMONS
                         CITY OF EUCLID, ET AL                     DEFENDANT



          EUCLID POLICE OFFICER, MICHAEL                                                You have been named defendant in a sums
          AMIOTT, #82                                                                 complaint (copy attached hereto) f"ded in Cuyahoga
          C/O CITY OF EUCLID                                                          County Court of Common Pleas, Cuyahoga County
          585 E. 222ND STREET                                                         Justice Center, Cleveland, Ohio 44113, by the
          EUCLID OH 441 23-0000                                                       plaintiff named herein.

                                                                                        You are hereby summoned and required to answer
                                                                                      the complaint within 28 days after service of this



                                    •
                     Said answer is required to be served on:                         summons upon you, exclusive of the day of service.

                                                                                       Said answer is required to be served on Plaintifrs
          Plantlfl's Attorney                                                         Attorney (Address denoted by arrow at left.)

          PAUL J CRISTALLO                                                             Your answer must also be filed with the court
          THE ROCKEFELLER BUILDING                                                    within 3 days after service of said answer on
                                                                                      plaintiff's attorney.
          614 WEST SUPERIOR AVENUE SUITE 820
          CLEVELAND, OH 44103-0000                                                      If you fail to do so, judgment by default will be
                                                                                      rendered against you for the relief demanded in the
                                                                                      complaint.

                   Case has been assigned to Judge:

          NANCY MARGARET RUSSO
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                             NAILAH K. BYRD
                                                                          Oerk of the Court of Common Pleas
                                                                                I
                    DATE SENT                                        I    ;lt r.Y'-
           Dec 4,        2017                         ~----------~~~-----------------
                                                                  Deputy


             COMPLAINT FILED           12/01/2017

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CMSN130
SUMMONS IN A CIVIL ACTION                            COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                    Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18  26 ofOHIO
                                                                 CLEVELAND,   35.44113
                                                                                    PageID #: 35
                CASE NO.                                    SUMMONS NO.
               CV17889899                    D3 FX            33951161                                                     Rule 4 (B) Ohio

                                                                                                                         Rules of Civil
                                                                                                                         Procedure
                               ERIMIUS SPENCER                       PLAINTIFF
                                        vs                                                                            SUMMONS
                        CITY OF EUCLID, ET AL                        DEFENDANT


                               ------
          EUCLID POLICE OFFI CER,
                                        ----------------------·
                                              SHANE                                              You have been named defendant in a sums
          RIVERA, #63                                                                          complaint (copy attached hereto) filed in Cuyahoga
          C/0 CITY OF EUCLID                                                                   County Court of Common Pleas, Cuyahoga County
          585 E. 222ND STREET                                                                  Justice Center, Cleveland, Ohio 44113, by the
          EUCLID OH 44123-0000                                                                 plaintiff named herein.

                                                                                                 You are hereby summoned and requil:ed to answet•
                                                                                               the complaint within 28 days after service of this




                                    •
                     Said answer is required to be served on:                                  summons upon you, exclusive of the day of service.

                                                                                                Said answer is required to be served on Plaintifrs
          Plandff's Attorney                                                                   Attorney (Address denoted by arrow at left.)

          PAUL J CRISTALLO                                                                      Your answer must also be filed with the court
          THE ROCKEFELLER BUILDING                                                             within 3 days after service of said answer on
                                                                                               plaintifrs attorney.
          614 WEST SUPERIOR AVENUE SUITE 820
          CLEVELAND, OH 44103-0000                                                               If you fail to do so, judgment by default will be
                                                                                               rendered against you for the relief demanded in the
                                                                                               complaint.

                   Case has been assigned to Judge:

          NANCY MARGARET RUSSO
          Do not contact judge. Judge's name is given for
          attomcy's t-efcrence only.

                                                                                    NAILAH K. BYRD
                                                                           Oerk of the Court of Common Pleas
                                                                            J       [ •
                                                                       I   ,,, •.
                                                                                I .,
                                                                                    ::>'''-'
               DATE SENT
           Dec 4, 2017                                 ~~
                                                        · ----------~De~p~uey--------------------

             COMPLAINT FILED             12/01/2017

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CMSN130
SUMMONS IN A CIVIL ACTION                         COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                    Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18  27 ofOHIO
                                                                 CLEVELAND,   35.44113
                                                                                    PageID #: 36
                 CASE NO.                                   SUMMONS NO.
                CV17889899                D4 FX               33951162                                         Rule 4 (B) Ohio

                                                                                                              Rules of Civil
                                                                                                              Procedure
                                ERIMIUS SPENCER                    PLAINTIFF
                                     vs                                                                      SUMMONS
                         CITY OF EUCLID, ET AL                     DEPENDANT



          RHM REAL ESTATE GROUP RHM REAL                                              You have been named defendant in a swns
          ESTATE INC .                                                              complaint (copy attached het·eto) filed in Cuyahoga
          C/ 0 JOHN JOYCE, JR .                                                     County Comt of Common Pleas, Cuyahoga County
          RHM REAL ESTATE INC.                                                      Justice Center, Cleveland, Ohio 44113, by the
          26949 CHAGRIN BLVD.,                                                      plaintiff named herein.
          SUITE 208
          BEACHWOOD OH 44112
                                                                                      You are hereby summoned and required to answer
                                                                                    the complaint within 28 days after service of this




                                    •
                     Said answer is required to be served on:                       summons upon you, exclusive of the day of set-vice.

                                                                                     Said answer is required to be served on Plaintiffs
          Pluntlff's Attorney                                                       Attorney (Address denoted by an-ow at left.)

          PAUL J CRISTALLO                                                            Your answer must also be filed with the court
          THE ROCKEFELLER BUILDING                                                  within 3 days al1e1· service of said answer on
                                                                                    plaintiff's attorney.
          614 WEST SUPERIOR AVENUE SUITE 820
          CLEVELAND, OH 44103-0000                                                    If you fail to do so, judgment by default will be
                                                                                    rendered against you for the relief demanded in the
                                                                                    complaint.

                   Case has been assigned to Judge:

          NANCY MARGARET RUSSO
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                              NAILAH K. BYRD
                                                                          Oerk or the Courl ofCommoo Pleas

                                                                          I   .
                    DATE SENT                                        ,;llh
           Dec 4,        2017
                                                      ~----------~~----------------
                                                                 Depuly


             COMPLAINT FILED           12 /01/2017

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CMSN130
SUMMONS IN A CIVIL ACTION                         COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                     Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 28 of
                                                                 CLEVELAND,   35.44113
                                                                            OHIO    PageID #: 37
                 CASE NO.                                   SUMMONS NO.
                CV17889899                DS FX               33951163                                         Rule 4 (B) Ohio

                                                                                                              Rules of Civil
                                                                                                              Procedure
                                ERIMIUS SPENCER                    PLAINTIFF
                                     vs                                                                      SUMMONS
                         CITY OF EUCLID, ET AL                     DEFENDANT



          JOHN DOE SECURITY CORPORATION                                              You have been named defendant in a swns
          NAME AND ADDRESS UNKNOWN                                                  complaint (copy attached hereto) filed In Cuyahoga
          C/0 JOHN JOYCE, JR.                                                       County Court of Common Pleas, Cuyahoga County
          RHM REAL ESTATE INC.                                                      Justice Center, Oeveland, Ohio 44113, by the
          26949 CHAGRIN BLVD., SUITE #208                                           plaintiff named herein.
          BEACHWOOD OH 44112

                                                                                      You are hereby summoned and required to answer
                                                                                    the complaint within 28 days afte1· service of this



                                    •
                     Said answer is required to be served on:                       swnmons upon you, exclusive of the day of sm'Vi.ce.

                                                                                     Said answer is required to be served on Plalntifrs
          Planllll's Attorney                                                       Attorney (Address denoted by armw at left.)

          PAUL J CRISTALLO                                                           Your answer must also be liled with the court
          THE ROCKEFELLER BUILDING                                                  within 3 days after service of said answer on
                                                                                    plaintiff's attorney.
          6 1 4 WEST SUPERIOR AVENUE SUITE 820
          CLEVELAND, OH 44103-0000                                                    If you fail to do so, judgment by defnult will be
                                                                                    rendered aguinst you for the relief demanded in the
                                                                                    complnint.

                   Case has been assigned to Judge:

          NANCY MARGARET RUSSO
          Do not contact judge. Judge's name is given lor
          attorney's reference only.

                                                                             NAILAH K. BYRD
                                                                          aerk or the Court urCommoo Pleas


               DATE SENT
           Dec 4, 2017                                ~·----------~~~-----------------
                                                                  Deputy


             COMPLAINT FILED           12/01/2017


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CMSN130
Cuyahoga County Clerk of Courts - Case Information                              Page 1 of 4
         Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 29 of 35. PageID #: 38

                                                Print

                                     CASE INFORMATION

 CV-17-889899 ERIMIUS SPENCER vs. CITY OF EUCLID, ET AL



                                              Summary

 Case Number:             CV-17-889899
 Case Title:              ERIMIUS SPENCER vs. CITY OF EUCLID, ET AL
 Case Designation:        TORT-MISCELLANEOUS
 Filing Date:             12/01/2017
 Judge:                   NANCY MARGARET RUSSO
 Magistrate               N/A
 Mediator:                N/A
 Room:                    18C JUSTICE CENTER
 Next Action:             CASE MGMNT CONFERENCE on 01/23/2018 at 02:15PM
 File Location:           JUDGES FILE
 Last Status:             ACTIVE
 Last Status Date:        12/01/2017
 Last Disposition:        NEWLY FILED
 Last Disposition Date:   12/01/2017
 Prayer Amount:           $250,000.00
 Court of Appeals Case:   N/A


                                               Service

 Party Name                                     Service           Date         Response   Date
 Role
                                            E-FILING SERVICE
 P(1)   ERIMIUS SPENCER                                      1212812017
                                            EMAIL
                                            E-FILING SERVICE
 P(1)   ERIMIUS SPENCER                                      1212812017
                                            EMAIL
                                            SUMS COMPLAINT
 D(1)   CITY OF EUCLID                      FEDERAL          12/04/2017 COMPLETED 12/05/2017
                                            EXPRESS
                                            SUMS COMPLAINT
        EUCLID POLICE OFFICER, MICHAEL
 D(2)                                       FEDERAL          12/04/2017COMPLETED 12/05/2017
        AMIOTT, #82
                                            EXPRESS
                                            SUMS COMPLAINT
        EUCLID POLICE OFFICER, SHANE
 D(3)                                       FEDERAL          12/04/2017COMPLETED 12/05/2017
        RIVERA, #63
                                            EXPRESS
        RHM REAL ESTATE GROUP RHM REAL SUMS COMPLAINT
 D(4)   ESTATE INC. C/0 JOHN JOYCE, JR. RHM FEDERAL          12/04/2017COMPLETED 12/05/2017
        REALESTATEINC .                     EXPRESS
        RHM REAL ESTATE GROUP RHM REAL
 D(4)   ESTATE INC. C/0 JOHN JOYCE, JR. RHM E-FILING SERVICE 12/28/2017
        REAL ESTATE INC.                    EMAIL
 D(4)                                                             12/28/2017



http://cpdocket.cp. cuyahogac.ounty .us/CV _Case Information_All.aspx?q=CxUZjzV9aFachO.. .   1/2/2018
Cuyahoga County Clerk of Courts - Case Information                              Page 2 of4
         Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 30 of 35. PageID #: 39

        RHM REAL ESTATE GROUP RHM REAL          E-FILING SERVICE
        ESTATE INC. C/0 JOHN JOYCE, JR. RHM     EMAIL
        REAL ESTATE INC.
        JOHN DOE SECURITY CORPORATION
                                                SUMS COMPLAINT
        NAME AND ADDR ESS UNKNOWN C/0
 D(5)                                           FEDERAL        12/04/2017COMPLETED 12/05/2017
        JOHN JOYCE, JR. RHM REAL ESTATE
                                                EXPRESS
        INC.


                                            Case Parties

  PLAINTIFF   (1) ERIMIUS SPENCER                     ATTORNEY PAUL J CRISTALLO (0061820)
                  C/0 CRISTALLO & LASALVIA
                                                               THE ROCKEFELLER BUILDING
                  614 WEST SUPERIOR AVENUE,
                  SUITE 801                                    614 WEST SUPERIOR AVENUE
                                                               SUITE 820
                  CLEVELAND, OH 44113
                                                               CLEVELAND, OH 44103-0000
                                                               N/A
                                                               Answer Filed : N/A
  DEFENDANT(1) CITY OF EUCLID
                585 E. 222ND STREET
                EUCLID, OH 44123
  DEFENDANT(2) EUCLID POLICE OFFICER, MICHAEL
                AMIOTT, #82
                C/0 CITY OF EUCLID
                585 E. 222ND STREET
                EUCLID, OH 44123-0000
  DEFENDANT (3) EUCLID POLICE OFFICER, SHANE
                RIVERA, #63
                C/0 CITY OF EUCLID
                585 E. 222ND STREET
                EUCLID, OH 44123-0000
  DEFENDANT(4) RHM REAL ESTATE GROUP RHM              ATTORNEY MATTHEW J. BAKOTA (0079830)
                REAL ESTATE INC. C/0 JOHN
                                                               110 N. MAIN ST.
                JOYCE, JR. RHM REAL ESTATE INC.
                26949 CHAGRIN BLVD.,                           SUITE 1000
                SUITE 208                                      DAYTON, OH 45402-0000
                BEACHWOOD, OH 44112                            Ph : 937-223-6003
                                                               Answer Filed: N/A
  DEFENDANT(S) JOHN DOE SECURITY
               CORPORATION NAME AND
               ADDRESS UNKNOWN C/0 JOHN
               JOYCE, JR. RHM REAL ESTATE INC.
               26949 CHAGRIN BLVD., SUITE #208
               BEACHWOOD, OH 44112



                                         Docket Information

 Filing Date Side Type Description                                                            Image
 01/01/2018 N/A JE CASE MGMNT CONFERENCE SET FOR 01/23/2018 AT 02:15PM . THIS                   ~
                       CASE IS SET FOR A PRETRIAL/CASE MANAGEMENT CONFERENCE.
                       COUNSEL FOR PLAINTIFF(S) SHALL INFORM ALL OPPOSING COUNSEL
                       AND/OR PROSE PARTIES OF THIS DATE AND TIME. COUNSEL FOR ALL
                       PARTIES ARE REQUIRED TO BE PRESENT IN PERSON AND TO BE
                       FAMILIAR WITH THE UNDERLYING FACTS OF THE CASE. PARTIES NOT



http: //cpdocket.cp.cuyahogacounty.us/CV_Caselnformation_All.aspx?q;;:;:Cx1JZjzV9aFachO...   1/2/2018
Cuyahoga County Clerk of Courts - Case Information                             Page 3 of 4
        Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 31 of 35. PageID #: 40

                         REPRESENTED BY COUNSEL ARE ALSO REQUIRED TO BE PERSONALLY
                         PRESENT. FAILURE OF ANY PARTY l,S COUNSEL OR PROSE PARTY TO
                         APPEAR AT ANY SCHEDULED EVENT DURING THE PENDENCY OF THIS
                         CASE MAY RESULT IN DISMISSAL WITH PREJUDICE FOR FAILURE TO
                         PROSECUTE AND/OR JUDGMENT BEING RENDERED. IF A CONTINUANCE
                         IS SOUGHT FOR ANY REASON, THE APPROPRIATE MOTION MUST BE
                         FILED NO LESS THAN 7 DAYS BEFORE THE SCHEDULED EVENT, AND
                         THE COURT PROVIDED WITH A COURTESY COPY ON THE DATE OF
                         FILING. DO NOT CALL THE COURT TO REQUEST A CONTINUANCE. NO
                         CONSIDERATION WILL BE GIVEN TO REQUESTS NOT MADE IN WRITING,
                         DOCKETED AND WITHIN THE TIMEFRAME ABOVE, ABSENT AN
                         EMERGENCY. THE COURT REQUIRES A COURTESY COPY OF ALL
                         PLEADINGS IN EXCESS OF 5 PAGES, TO BE HAND-DELIVERED TO THE
                         COURT. E-FILING DOES NOT CONSTITUTE A COURTESY COPY.
                         PLEADINGS 5 PAGES, OR LESS, IN LENGTH MAY BE FAXED TO THE
                         COURT 216-348-4036. PLEADINGS OF 5 PAGES OR LESS THAT ARE
                         E-FILED DO NOT NEED TO BE FAXED OR DELIVERED TO THE COURT.
                         FAILURE TO COMPLY WITH ANY PORTION OF THE COURTl,S STANDING
                         ORDERS, INCLU DING THIS ORDER, MAY RESULT IN A DISMISSAL
                         WITHOUT PREJUDICE. PARTIES ARE TO ABIDE BY THE COURT l,S
                         STANDING ORDERS CONTAINED HEREIN AND LOCATED AT:
                         HTTP://CP.CUYAHOGACOUNTY.US/JUDGES/NANCYMARGARETRUSSO
                         NOTICE ISSUED
 12/28/2017 D4      OT   STIPULATION FOR LEAVE TO PLEAD FILED STIPULATED EXTENSION TO
                         MOVE OR OTHERWISE PLEAD
 12/28/2017 D4      NT   NOTICE OF APPEARANCE, FILED D4 RHM REAL ESTATE GROUP RHM
                         REAL ESTATE INC. MATTHEW J. BAKOTA 0079830. NOTICE OF                ~
                         APPEARANCE
 12/06/2017 N/A SR       FEDEX RECEIPT NO. 33951163 DELIVERED BY FEDEX 12/05/2017 JOHN
                         DOE SECURITY CORPORATION PROCESSED BY COC 12/06/2017.
 12/06/2017 N/A SR       FEDEX RECEIPT NO. 33951162 DELIVERED BY FEDEX 12/05/2017 RHM
                         REAL ESTATE GROUP RHM REAL ESTATE INC. PROCESSED BY COC
                         12/06/2017.
 12/06/2017 N/A SR       FEDEX RECEIPT NO. 33951160 DELIVERED BY FEDEX 12/05/2017 EUCLID
                         POLICE OFFICER, MICHAEL AMIOTT, #82 PROCESSED BY COC
                         12/06/2017.
 12/06/2017 N/A SR       FEDEX RECEIPT NO. 33951159 DELIVERED BY FEDEX 12/05/2017 CITY OF
                         EUCLID PROCESSED BY COC 12/06/2017.
 12/06/2017 N/A SR       FEDEX RECEIPT NO. 33951161 DELIVERED BY FEDEX 12/05/2017 EUCLID
                         POLICE OFFICER , SHANE RIVERA, #63 PROCESSED BY COC 12/06/2017.
 12/04/2017   N/A   SR   SUMMONS E-FILE COPY COST
 12/04/2017   N/A   SR   SUMMONS E-FILE COPY COST
 12/04/2017   N/A   SR   SUMMONS E-FILE COPY COST
 12/04/2017   N/A   SR   SUMMONS E-FILE COPY COST
 12/04/2017   N/A   SR   SUMMONS E-FILE COPY COST
 12/04/2017   D5    cs   WRIT FEE
 12/04/2017   D5    SR   SUMS COMPLAINT(33951163) SENT BY FEDERAL EXPRESS . TO: JOHN
                         DOE SECURITY CORPORATION 26949 CHAGRIN BLVD., SUITE #208             ~
                         BEACHWOOD, OH 44112
 12/04/2017 D4      cs   WRIT FEE
 12/04/2017 D4      SR   SUMS COMPLAINT(33951162) SENT BY FEDERAL EXPRESS. TO: RHM
                         REAL ESTATE GROUP RHM REAL ESTATE INC. 26949 CHAGRIN BLVD.,          ~
                         SUITE 208 BEACHWOOD, OH 44112
 12/04/2017 D3      cs   WRIT FEE
 12/04/2017 D3      SR   SUMS COMPLAINT(33951161) SENT BY FEDERAL EXPRESS. TO: EUCLID
                         POLICE OFFICER , SHANE RIVERA, #63 C/0 CITY OF EUCLID 585 E. 222ND   ~
                         STREET EUCLID, OH 44123-0000


http://cpdocket.cp.cuyahogacounty .us/CV_ CaseT nfonnation_1\ll.nspx?q-CxUZjzV9aFachO...   1/2/2018
Cuyahoga County Clerk of Courts - Case Information                            Page 4 of 4
       Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 32 of 35. PageID #: 41

 12/04/2017 D2      cs   WRIT FEE
 12/04/2017 D2      SR   SUMS COMPLAINT(33951160) SENT BY FEDERAL EXPRESS. TO: EUCLID
                         POLICE OFFICER, MICHAEL AMIOTI, #82 C/0 CITY OF EUCLID 585 E.                       [iiJ
                         222ND STREET EUCLID, OH 44123-0000
 12/04/2017 D1      cs   WRIT FEE
 12/04/2017 D1      SR   SUMS COMPLAINT(33951159) SENT BY FEDERAL EXPRESS. TO: CITY OF
                         EUCLID 585 E. 222ND STREET EUCLID, OH 44123                                         I
 12/01/2017   N/A   SF   JUDGE NANCY MARGARET RUSSO ASSIGNED (RANDOM)
 12/01/2017   P1    SF   LEGAL RESEARCH
 12/01/2017   P1    SF   LEGAL NEWS
 12/01/2017   P1    SF   LEGAL AID
 12/01/2017   P1    SF   COURT SPECIAL PROJECTS FUND
 12/01/2017   P1    SF   COMPUTER FEE
 12/01/2017   P1    SF   CLERK'S FEE
 12/01/2017   P1    SF   DEPOSIT AMOUNT PAID PAUL J CRISTALLO
 12/01/2017   N/A   SF   CASE FILED: COMPLAINT                                                               I

                                                      Costs

 Account                                                                                    Amount
 CLERK'S FEES                                                                               $101.26
 COMPUTER FEES                                                                              $20 .00
 COURT SPECIAL PROJECTS FUND                                                                $50.00
 LEGAL AID                                                                                  $25.74
 LEGAL NEWS                                                                                 $10.00
 LEGAL RESEARCH - CIVIL                                                                     $3.00
 TOTAL COST                                                                                 $210.00
 Only the official court records available from the Cuyahoga County Clerk of Courts, available in person , should
 be relied upon as accurate and current.
 For questions/comments please click here.
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http://cpdocket.cp.cuyahogacounty.us/CV _CaseTnformntion_All.aspx?q=CxUZjzV9al'achO...                   1/2/2018
           Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 33 of 35. PageID #: 42




                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CLERK OF COURTS
                                                   1200 Ontario Street
                                                  Cleveland, Ohio 44113



                                             Court of Common Pleas


                                            NOTICE OF APPEARANCE
                                             December 28, 2017 11:32


                                        By: MATTHEW J. BAKOTA 0079830
                                              Confirmation Nbr. 1260548


  ERIMIUS SPENCER                                                         cv 17 889899
          vs.
                                                                Judge: NANCY MARGARET RUSSO
  CITY OF EUCLID, ET AL




                                                   Pages Filed: 2




Electronically Filed 12/28/2017 11:32/ NOTICE I CV 17 889899/ Confirmation Nbr. 1260548/ CLDLJ
              Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 34 of 35. PageID #: 43




                     IN THE COMMON PLEAS COURT OF CUYAHOGA COUNTY, OIDO
                                        CIVIL DIVISION

      ERIMIUS SPENCER,                                                           CASE NO.: CV 17 889899

                            Plaintiff,                                           JUDGE: NANCY MARGARET RUSSO

      v.

      CITY OF EUCLID, et al.


                            Defendants.



                                                   NOTICE OF APPEARANCE


                   Matthew J. Bakota and Auman Mahan and Furry hereby enter their appearance as

      counsel of record for Defendant RHM Real Estate, Inc. d/b/a RHM Real Estate Group in the

      above-captioned action.


                                                                                 s/Matthew J. Bakota
                                                                                 Matthew J. Bakota (0079830)
                                                                                 AUMAN, MAHAN & FURRY
                                                                                  110 North Main Street, Suite 1000
                                                                                 Dayton, Ohio 45402-1738
                                                                                 937-223-6003
                                                                                 937-223-8550 Fax
                                                                                 mjb@arnfdayton.com
                                                                                 Attorneys for Defendant, RHM Real Estate,
                                                                                 Inc. d/b/a RHM Real Estate Group




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                      Case: 1:18-cv-00004-JG Doc #: 1-2 Filed: 01/02/18 35 of 35. PageID #: 44
r'




                                                           CERTIFICATE OF SERVICE

                   I hereby certify that on December 28, 2017, I electronically filed the foregoing with the
            Clerk of the Court by using the ECF system which will send a notice of electronic filing to the
            following:

                           Paul J. Cristallo, Esq. (0061820)
                           The Rockefeller Building
                           614 West Superior Ave., Suite 820
                           Cleveland, OH 44113
                           216-400-6290
                           216-727-0160 Fax
                           paul@makeitrightohio. com
                           Attorneys for Plaintiff, Erimius Spencer

                           I further certify that a true copy was mailed by regular U.S. Mail to:

                           Euclid Police Officer
                           Michael Amiott, #82
                           Shane Rivera, #63
                           c/o The City of Euclid
                           585 E. 222"d Street
                           Euclid, OH 44123


                                                                            s/Matthew J. Bakota
                                                                            Matthew J. Bakota (0079830)




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